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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                     Chapter      12
                                                                                                                          Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Star Farms, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1514 Weld County Road 37                                       PO Box 742
                                  Brighton, CO 80601                                             Commerce City, CO 80037-0742
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Adams                                                          Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 1514 Weld County Road 37 Brighton, CO 80601
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Star Farms, Inc.                                                                             Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “ small          Chapter 9
     business debtor”must check         Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                              procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




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Debtor    Star Farms, Inc.                                                                                  Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                       $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion

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Debtor   Star Farms, Inc.                                                              Case number ( if known )
         Name

                             $50,001 - $100,000                        $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                             $100,001 - $500,000                       $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                             $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




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Debtor    Star Farms, Inc.                                                                                Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       July 26, 2023
                                                    MM / DD / YYYY


                              X /s/ Angelo Palombo                                                               Angelo Palombo
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   CEO




18. Signature of attorney     X /s/ Guy Humphries                                                                  Date July 26, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Guy Humphries
                                  Printed name

                                  Guy Humphries, Attorney at Law
                                  Firm name


                                  7761 Shaffer Pkwy Ste 105
                                  Littleton, CO 80127-3728
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (303) 832-0029                  Email address         guyhumphries@msn.com

                                  10541
                                  Bar number and State




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                                                                   United States Bankruptcy Court
                                                                         District of Colorado

       IN RE:                                                                                        Case No.
       Star Farms, Inc.                                                                              Chapter 12
                                                            Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: July 26, 2023                                  Signature: /s/ Angelo Palombo
                                                                         Angelo Palombo, CEO                                       Debtor



       Date:                                                Signature:
                                                                                                                       Joint Debtor, if any




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      Adams County Attorney
      4430 S Adams County Pkwy
      Brighton, CO 80601-8222


      Agustin Arce Gome
      1504 WCR # 37
      Lochbuie, CO 80603


      Alberto Angel Vera Chavez
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851


      Alonso Isreal Martinez Hernandez
      1504 WCR # 37
      Lochbuie, CO 80603


      Alonso Rojas Reyes
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Angelo Palombo
      2525 E 104th Ave Unit 1513
      Thornton, CO 80233-6188


      Anita Thrap
      472 Birch Ave
      Brighton, CO 80601-2944
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      Arant Law
      19751 E Mainstreet
      Parker, CO 80138-7378


      Aurelio Torres
      PO Box 1932
      Commerce City, CO    80037-1932


      Benito Santana Lopez
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Blue Vine
      401 Warren St
      Redwood City, CA    94063-1578


      C T Corporation System
      330 N Brand Blvd
      Glendale, CA 91203-2308


      Carlos Manuel Lara Medina
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Century Lin
      PO Box 29040
      Phoenix, AZ 85038-9040
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      Christian Torres Ramirez
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851


      Churchill Funding LLC
      1800 Camden Rd
      Charlotte, NC 28203-4690


      City of Thornton
      9500 Civic Center Dr
      Thornton, CO 80229-4326


      Clemente Marcelino Rojas Morales
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      CMS Commercial Regrigeration & Heating
      1500 W Thornton Pkwy Lot 460
      Thornton, CO 80260-5439


      Colo Dept of Labor and Unemployment
      PO Box 956
      Denver, CO 80201-0956


      Colorado Attorney General
      1300 N Broadway Fl 7
      Denver, CO 80203-2104
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      Colorado Department Of Revenue
      Attn: Bankruptcy Department
      1375 Sherman St Rm 504
      Denver, CO 80261-3000


      Corporation Service Company
      PO Box 2576
      Springfield, IL 62708-2576


      County Manager-Adams County
      4430 S Adams County Pkwy
      Brighton, CO 80601-8222


      Crestone Brighton Partners, LLC
      2589 Bitterroot Pl
      Highlands Ranch, CO 80129-6475


      Cynthia Pierog
      4242 E Bromley Ln Apt F202
      Brighton, CO 80601-7817


      Daniel Salinas
      6781 Albion St
      Commerce City, CO     80022-2384


      David Aguirre
      7568 Kearney St
      Commerce City, CO     80022-1336
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      David Fogel, Esq.
      1225 Franklin Ave Ste 201
      Garden City, NY 11530-1890


      Edgar Jesus Bonilla Velasco
      65 N Kuner Rd Apt 211
      Brighton, CO 80601-2891


      Eduardo Zuniga Martinez
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Enrique Flores Olivares
      730 Mather St Apt 1D
      Brighton, CO 80601-3135


      Enviro Gas
      125 W Bridge St Ste F
      Brighton, CO 80601-2834


      Erik Omar Hernandez Rodriguez
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851


      Esteban Gamora
      6791 Highway 2 Lot 52
      Commerce City, CO 80022-2411
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      Fausto Efrain Vera Chavez
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851


      Feliciano Guzman Gomez
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Felipe Lara Alvarez
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Fintegra
      99 Wall St Ste 686
      New York, NY 10005-4301


      First Corporate Solutions
      914 S St
      Sacramento, CA 95811-7025


      Fox Capital Group, LLC
      706 E 35th St
      Savannah, GA 31401-8230


      Francisco Gomora Valdez
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851
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      Francisco Martinez Reyes
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Francisco Torres
      PO Box 1932
      Commerce City, CO     80037


      Fundonatic
      20200 W Dixie Hwy Ste 908
      Miami, FL 33180-1926


      Fundworks
      5990 Sepulveda Blvd Ste 300
      Van Nuys, CA 91411-2523


      Gabriel Salinas
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Gaudencio Gonzalez Sanchez
      180 S 20th Ave Apt B2
      Brighton, CO 80601-2540


      German Lopez Garrido
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851
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      Inspire Residential
      6000 E Evans Ave Ste 1-110
      Denver, CO 80222-5412


      Internal Revenue Service
      PO Box 7346
      Philadelphia, PA 19101-7346


      IRS District Counsel
      600 17th St Ste 300
      Denver, CO 80202-5446


      Itrade Network
      4160 Dublin Blvd Ste 310
      Dublin, CA 94568-7756


      Ivan Jimenez Velez
      180 S 20th Ave Apt B2
      Brighton, CO 80601-2540


      Ivan Romero Fernandez
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      J Jesus Valadez Saldana
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851
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      Jesus David Lara Torres
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851


      Jesus Romero Rojas
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


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      Denver, CO 80222-6609


      Jose Alfredo Hernandez Lopez
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Jose Antonio Alpizar Gonzales
      1504 WCR # 37
      Lochbuie, CO 80603


      Jose Carlos Huerta Ambrosio
      180 S 20th Ave Apt B2
      Brighton, CO 80601-2540


      Jose Flores Velez
      730 Mather St Apt 1D
      Brighton, CO 80601-3135
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      Jose Guadalupe Sanchez Gomez
      1504 WCR # 37
      Lochbuie, CO 80603


      Jose Isabel Salinas Sanabria
      1504 WCR # 37
      Lochbuie, CO 80603


      Jose Marcos Flores Velez
      730 Mather St Apt 1D
      Brighton, CO 80601-3135


      Jose Trinidad Salinas Arce
      1504 WCR # 37
      Lochbuie, CO 80603


      Jose Zuniga Martinez
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Juan Contreras Cerro
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Kings Funding
      1270 Avenue of the Americas Ste 811
      New York, NY 10020
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      Kosmiski Family Partnership, LLLP
      13854 Ashgrove Cir
      Parker, CO 80134-3931


      Kristi Bunge, Esq.
      Springman, Braden, Wilson &
      4175 Harlan St Ste 200
      Wheat Ridge, CO 80033-5150


      Leticia Serrano
      7110 Highway 2 Lot 24
      Commerce City, CO 80022-2081


      Lieberman and Klestzick
      PO Box 356
      Cedarhurst, NY 11516-0356


      Long Distance Consolidated Billing CO
      4010 W Walton Blvd Ste B
      Waterford Township, MI 48329-4192


      Luis David Martinez Morales
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Luis Fernando Huerta Ambrocio
      730 Mather St Apt 1D
      Brighton, CO 80601-3135
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      Manuel Osorio Castillo
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      Marco Antonio Salinas Arce
      1504 WCR # 37
      Lochbuie, CO 80603


      Marcos Alonzo Sanchez Medrano
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      Maria Del Carmen Gomora Valdes
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Mario Moises Garcia Viurquez
      78 W Walnut St Apt 301
      Brighton, CO 80601-2851


      Mark Villano Produce CO
      13316 Olive St
      Thornton, CO 80602-8162


      Martin Angel Arce Gomez
      1504 WCR # 37
      Lochbuie, CO 80603
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      Martin Salinas Lopez
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Martina Gamora
      1504 WCR # 37
      Brighton, CO 80601


      Mauricio Valdes Martinez
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Moises Zuniga
      1504 WCR # 37
      Brighton, CO 80601


      Mountain Sales & Service
      6759 E 50th Ave
      Commerce City, CO 80022-4618


      Neftali Morales Ramirez
      180 S 20th Ave Apt B2
      Brighton, CO 80601-2540


      Nicolas Lopez Rosas
      730 Mather St Apt 1D
      Brighton, CO 80601-3135
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      Noe Ly rubicel Rojas Sanchez
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      On Deck
      901 N Stuart St Ste 700
      Arlington, VA 22203-4129


      One Network
      4055 Valley View Ln Ste 1000
      Dallas, TX 75244-5069


      Oscar Gonzales Hernandez
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Oscar Gonzalez Camacho
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Pedro Alejandro Bonilla Velasco
      65 N Kuner Rd Apt 211
      Brighton, CO 80601-2891


      Pinnacol Assurance
      PO Box 561434
      Denver, CO 80012
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      Pinnacol Assurance
      7501 E Lowry Blvd
      Denver, CO 80230-7006


      Procurant
      180 Westridge Dr Ste 100
      Watsonville, CA 95076-6683


      Quick Capital Funding
      2525 Main St
      Irvine, CA 92614-6682


      Rebecaa Margarita Nava Gomora
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Rene Salinas Lara
      1504 WCR # 37
      Lochbuie, CO 80603


      Reymundo Zuniga
      PO Box 156
      Commerce City, CO     80022


      Ricardo Reyes Rojas
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837
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      Rodolfo Salinas Javier
      1504 WCR # 37
      Lochbuie, CO 80603


      Roger Jesus Reyes Arce
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Samuel Rojas Reyes
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Samuel Vidal Velasco
      78 W Walnut St Apt 307
      Brighton, CO 80601-2851


      Saul Salinas Mendosa
      131 W Egbert St Apt 103
      Brighton, CO 80601-2837


      Secured Lender Solutions
      PO Box 2576
      Springfield, IL 62708-2576


      Simon Depaz
      7463 Kearney St
      Commerce City, CO     80022-1334
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      Thornton City Attorney
      9500 Civic Center Dr
      Thornton, CO 80229-4326


      UCC Filer 2
      5150 Tamiami Trl N
      Naples, FL 34103-2812


      Ulises Romero Fernandes
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      United Power
      500 Cooperative Way
      Brighton, CO 80603-8728


      United Site Services
      PO Box 660475
      Dallas, TX 75266-0475


      United Vision Logistics
      PO Box 975357
      Dallas, TX 75397-5357


      Universal Chain Inc.
      3461 Ringsby Ct Ste 150
      Denver, CO 80216-4945
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      US Bank
      PO Box 790408
      Saint Louis, MO     63101


      Vicente Roman Reynoso
      55 N Kuner Rd Apt 212
      Brighton, CO 80601-2889


      Vicente Zuniga
      7280 E 74th Ave
      Commerce City, CO     80022-1608


      Waste Connections of Colorado
      5500 Franklin St
      Denver, CO 80216-1538


      Westfield Insurance
      Cherry Creek Ins Group
      155 Inverness Dr W
      Centennial, CO 80112-5095


      Wolters Kluwer
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      PO Box 9477
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